Case 18-17880-pmm       Doc 65     Filed 02/26/21 Entered 02/26/21 08:32:36         Desc Main
                                  Document      Page 1 of 1



                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                              :     Chapter 7
                                                    :
       DANIEL AND GEORGINA RICCA,                   :
                                                    :     Bky. No. 18-17880 PMM
                      Debtors.                      :
                                                    :

                                         ORDER
       AND NOW, upon consideration of the chapter 7 Trustee’s Objections to Claim Numbers

3 and 4 filed by D&P Private Lending, LLC (“D&P”) (doc. no. 41, collectively, the

“Objection”);

       AND upon consideration of D&P’s Motions to Require Trustee to Dispose of Certain

Funds (doc. nos. 34 and 36, collectively “the Motion”);

       AND following a hearing on the Objection and the Motion and for the reasons stated in

the accompanying Memorandum Opinion:

       It is hereby ORDERED that

       1. The Objection is overruled.

       2. The Motion is granted.

       3. The Trustee is hereby ordered to distribute a total sum of $111,998.16 to D&P in

           satisfaction of secured claims 3 and 4 on or before March 26, 2021.




Date: February 26, 2021                     _________________________________________
                                     PATRICIA M. MAYER
                                     U.S. BANKRUPTCY JUDGE
